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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA



 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,
                                              Case No. 1:20-cv-03010-APM
 v.
                                              HON. AMIT. P. MEHTA
 GOOGLE LLC,

                     Defendant.


 STATE OF COLORADO, et al.,

                     Plaintiffs,

 v.                                           Case No. 1:20-cv-03715-APM

 GOOGLE LLC,                                  HON. AMIT P. MEHTA

                     Defendant.



      [PROPOSED] ORDER GRANTING ANTHROPIC PBC, ENGINE ADVOCACY,
      AND TECHNET’S MOTION FOR LEAVE TO FILE BRIEF AS AMICI CURIAE

       Upon consideration of Anthropic PBC, Engine Advocacy, and TechNet’s Motion for

Leave to File Brief as Amici Curiae, it is HEREBY ORDERED that the Motion is GRANTED.

       IT IS SO ORDERED.

Date: __________________
                                                Honorable Amit P. Mehta
                                                United States District Judge
